                      Case 19-81834              Doc    Filed 12/20/19           Entered 12/20/19 17:23:42               Desc Main
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Fill in this information to identify the case:

Debtor 1 Jonathan L Call

Debtor 2
(Spouse, if filing)


United States Bankruptcy Court for the: NORTHERN                    District of ILLINOIS
                                                                               (State)

Case number 19-81834



Official Form 410S2
Notice of Postpetition Mortgage Fees, Expenses, and Charges                                                                     12/16


If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the debtor’s
principal residence, you must use this form to give notice of any fees, expenses, and charges incurred after the bankruptcy filing that you
assert are recoverable against the debtor or against the debtor’s principal residence.

File this form as a supplement to your proof of claim. See Bankruptcy Rule 3002.1.


Name of creditor:               NATIONSTAR MORTGAGE LLC D/B/A                        Court claim no. (if known)        4-1
                                MR. COOPER

Last four digits of any number you                  XXXXXX5271
use to identify the debtor’s account:

Does this notice supplement a prior notice of postpetition fees, expenses,
and charges?
   No
   Yes. Date of the last notice:

Part 1:               Itemize Postpetition Fees, Expenses, and Charges

Itemize the fees, expenses, and charges incurred on the debtor's mortgage account after the petition was filed. Do not include any escrow
account disbursements or any amounts previously itemized in a notice filed in this case or ruled on by the bankruptcy court.
        Description                                                                        Dates incurred                               Amount

1.      Late charges                                                                                                             (1)    $          0.00
2.      Non-sufficient funds (NSF) fees                                                                                          (2)    $          0.00
3.      Attorney fees                                                                      8/16/2019,                            (3)    $        500.00
4.      Filing fees and court costs                                                                                              (4)    $          0.00
5.      Bankruptcy/Proof of claim fees                                                                                           (5)    $          0.00
6.      Appraisal/Broker's price opinion fees                                                                                    (6)    $          0.00
7.      Property inspection fees                                                                                                 (7)    $          0.00
8.      Tax advances (non-escrow)                                                                                                (8)    $          0.00
9.      Insurance advances (non-escrow)                                                                                          (9)    $          0.00

10. Property preservation expenses. Specify:           _____________                                                             (10)   $          0.00
11. Other. Specify:                                                                                                              (11)   $
12. Other. Specify:                                                                                                              (12)   $
13. Other. Specify:                                                                                                              (13)   $

The debtor or trustee may challenge whether the fees, expenses, and charges you listed are required to be paid.
See 11 U.S.C. § 1322(b)(5) and Bankruptcy Rule 3002.1.

If the court has previously approved an amount, indicate that approval in parentheses after the date the amount was incurred.




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Debtor 1        Jonathan L Call                                                    Case number (if known)      19-81834
                First Name   Middle Name Last Name



Part 2:          Sign Here

The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
telephone number if different from the notice address listed on the proof of claim to which this Supplement applies.
Check the appropriate box.

 I am the creditor.
 I am the creditor’s authorized agent.

I declare under penalty of perjury that the information provided in this Notice is true and correct to the best
of my knowledge, information, and reasonable belief.

           X     /s/Toni Townsend                                                                      Date       10/16/2019
                 Signature

Print:           Toni                                                     Townsend                     Title      Authorized Agent
                 First Name                   Middle Name                 Last Name

Company          McCalla Raymer Leibert Pierce, LLC

Address          1544 Old Alabama Road
                 Number           Street
                 Roswell                              GA                   30076
                 City                                 State                ZIP Code

Contact phone           (312) 346-9088 X5174                                   Email       Toni.Townsend@mccalla.com




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                                 UNITED STATES BANKRUPTCY COURT
                               FOR THE NORTHERN DISTRICT OF ILLINOIS


In re:                                                                   )
                                                                         )      Case No. 19-81834
Jonathan L Call                                                          )      Chapter 13
                                                                         )
                                                                                JUDGE: THOMAS M. LYNCH
                                                                         )

                                                               EXHIBIT B

                                                   ITEMIZATION OF CLAIM

 Attorney fees:                                                                                                                $500.00
                                                     Preparation of the Objection to
                   08/16/2019                                                                                      $500.00
                                                     Confirmation

 TOTAL POSTPETITION FEES, EXPENSES, AND CHARGES:                                                                               $500.00

The debtor or trustee may challenge whether the fees, expenses, and charges you listed are required to be paid. See 11
U.S.C. § 1322 (b)(5) and Bankruptcy Rule 3002.1
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                                                       Bankruptcy Case No.: 19-81834
 In Re: Jonathan L Call                                Chapter:             13
                                                       Judge:               Thomas M. Lynch

                                     CERTIFICATE OF SERVICE

      I, Toni Townsend, of McCalla Raymer Leibert Pierce, LLC, 1544 Old Alabama Road,
Roswell, GA 30076, certify:

         That I am, and at all times hereinafter mentioned, was more than 18 years of age;

       That on the date below, I caused to be served a copy of the within NOTICE OF
POSTPETITION MORTGAGE FEES, EXPENSES, AND CHARGES filed in this bankruptcy
matter on the following parties at the addresses shown, by regular United States Mail, with
proper postage affixed, unless another manner of service is expressly indicated:

Jonathan L Call
11700 W. Canada Rd
Polo, IL 61064

Jacob E Maegli                                  (served via ECF Notification)
Eric Pratt Law Firm PC
5411 E. State Street Suite 202
Rockford, IL 61108

Lydia Meyer                                     (served via ECF Notification)
Lydia Meyer - 13 Trustee
P.o. Box 14127
Rockford, IL 61105

U.S. Trustee
Patrick S Layng                                 (served via ECF Notification)
Office of the U.S. Trustee, Region 11
780 Regent St.
Suite 304
Madison, WI 53715

     I CERTIFY UNDER PENALTY OF PERJURY THAT THE FOREGOING IS TRUE
AND CORRECT.

Executed on:          12/20/2019      By:    /s/Toni Townsend
                       (date)                Toni Townsend
                                             Authorized Agent for Nationstar Mortgage LLC d/b/a
                                             Mr. Cooper
